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    IT IS ORDERED as set forth below:



    Date: July 5, 2018
                                                                  _________________________________

                                                                             Paul W. Bonapfel
                                                                       U.S. Bankruptcy Court Judge
 _______________________________________________________________

                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                         )        CHAPTER 13
                                                               )
TAMEKA SHONTE WINTERS,                                         )
                                                               )
                                    Debtor.                    )        CASE NO. 18-56667-PWB
---------------------------------------------------------------------------------------------------------------------
THE FRANKLIN JOHNSTON GROUP                                    )
A/A/ F MAGNOLIA AT WHITLOCK,                                   )
                                                               )
                                    Movant,                    )
v.                                                             )
                                                               )        CONTESTED MATTER
                                                               )
TAMEKA SHONTE WINTERS, Debtor,                                 )
MARY IDA TOWNSON, Chapter 13 Trustee,                          )
                                                               )
                                    Respondents.               )

        CONSENT ORDER CONDITIONALLY DENYING MOTION FOR RELIEF

          This matter arose upon the Motion for Relief from Stay, filed on May 11, 2018, by The

Franklin Johnston Group a/a/f Magnolia at Whitlock (“Movant”), scheduled for hearing on June

20, 2018, upon lawful notice given to all parties in interest (the “Motion”) (Doc. No. 12).



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Movant contends that it is the residential landlord of the Debtor pursuant to a written lease

agreement for premises located at 925 Whitlock Avenue, S.W., Apartment 2016, Marietta, Ga.

30064 (the “Premises”). The Parties reached an agreement as to the Motion prior to the hearing

and hereby agree and stipulate as follows:

        The automatic stay of 11 U.S.C. 362 shall in remain in place so long as Debtor

maintains all post-petition obligations pursuant to the terms below:

        1. Strict Compliance

        Debtor is ordered to remain in strict compliance with her lease agreement, beginning

July 1, 2018, by paying Movant her monthly rent in the amount of $908.00 plus all other

monthly fees authorized by the lease (including but not limited to pest control, trash service and

water service billed in arrears). All payments specified above shall be made by certified funds,

and shall be paid directly to the Movant at the leasing office of Magnolia at Whitlock

Apartments at the following address: 925 Whitlock Avenue, S.W., Marietta, Ga. 30064. Any

payments made after the 3rd day of the month in accordance with the cure provisions of

paragraph 2(A) below shall include a late fee of $100.00. In the event Movant renews Debtor’s

lease agreement, then Debtor shall be required to pay all monthly amounts each month pursuant

to this Paragraph as found in the renewal lease agreement.

        2. Default due to failure to cure delinquency

        Upon delinquency of the Debtor in the payment of any sums required in strict

compliance of her lease pursuant to Paragraph 1 of this Order, Movant may be permitted to

pursue all state law remedies to recover possession of the Premises pursuant to applicable state

law only after submitting a delinquency motion (as more particularly described below), and the

entry of an order lifting the automatic stay of 11 USC § 362 in the following manner:



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        (A) Counsel for Movant shall serve Debtor and Debtor’s counsel of record with written

notice via First Class Mail to: Tameka Shonte Winters, 925 Whitlock Ave. SW, Apt. 2016,

Marietta, Ga. 30064 and Howard P. Slomka, Slipakoff & Slomka, PC, Overlook III-Suite 1700,

2859 Paces Ferry Road, SE, Atlanta, GA. 30339, informing Debtor of the specific facts of the

delinquency (the "Delinquency Notice"), and said Delinquency Notice shall provide Debtor with

an opportunity to cure the delinquency by payment of certified funds to the Movant at the leasing

office address listed above within ten (10) days (inclusive of weekends and holidays) from the

date the notice is sent; and

        (B) Upon Debtor’s failure to cure the delinquency within ten days of Movant’s sending

of the delinquency notice as outlined above, Counsel for Movant may present to the court, after

service on the Debtor and her attorney:

               (1) A motion supported by an affidavit which avers the specific details of the

delinquency and includes by exhibit a copy of the delinquency notice, together with,

               (2) A proposed Order (the motion, affidavit, copy of the Delinquency Notice and

the proposed Order are herein collectively referred to as the “Delinquency Motion”).

        Upon presentation of said Delinquency Motion, the court may enter an Order lifting the

stay as to the collateral, without further hearing or opportunity for Debtor or Debtor’s counsel to

respond.

        IT IS SO ORDERED.




                                     END OF DOCUMENT


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PRESENTED AND CONSENTED BY:
/s/ J. Mike Williams
J. Mike Williams
Attorney for Movant
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(404) 633-5114
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CONSENTED BY:
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Attorney for Debtor
Georgia Bar No. 652875
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NO OPPOSITION BY:
/s/ Brandi L. Kirkland, (with express permission)
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Attorney for Chapter 13 Trustee




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                                  DISTRIBUTION LIST


      Mary Ida Townson
      Mary Ida Townson, Standing Ch. 13 Trustee
      191 Peachtree Street, NE
      Atlanta, GA. 30303-1740

      Tameka Shonte Winters
      925 Whitlock Ave. SW Apt. 2016
      Marietta, GA. 30064

      Howard P. Slomka
      Slipakoff & Slomka, PC
      Overlook III-Suite 1700
      2859 Paces Ferry Rd., SE
      Atlanta, Ga. 30339




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